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                                      IN THE UNITED STATES DISTRICT COURT
                                           FOR TTiD DISTRICT OF IDAHO


 UNITED STATITS                          .11,'   :\NIIIiIICA.        )          Case    No. CR20-202-S-DCN
                                                                     )
           PIaintiff,                                                )
                                                                     )
     vs.                                                             )         DEFENDANT'S ASSERTION OF
                                                                     )         FIFTH AND SIXTH AMENDMENT
                                                                     )         RIGHTS
 DOUGLAS WOLD
                                                                     )
           Defendant..                                               )
                                                                     )

        I, the above-named defendant hereby assert my rights under the Fifth and

Sixth Amendments of the United States Constitutron, including but not limited to

my rights to remair. srlent and to have counsel present at any and all of my

interactions rvith t1,l go\,crnment ol othel's actrng on the government's behalf. I do

not wish to, and ri-ilr not, r'aive any of my constitutional rights except in the

presence ofcounsel.                       I do not rvish to have. nol           do    I consent to, any contact with any

government officral. statc ol fedelal, includrng but not limited to law enforcement

agents, except th|oL,th m1, r:ounscl.                           I   do not rvant the government or others acting

on the governmcut's bchalf to qucstion me, or to contact me seeking a waiver of any

rights, unless rrry c()urlseI is plesent. The Government should so instruct its agents.

This is meant to irpl;ly to any and all legal natters and/or investigations.

Dated   this          \   \'h      dr r1'   61 S.p\<-,"e\,r-                  2020.

Respec           )"


De         ant                                                                Attorney



Assertion of                    I,'i1t   ir and        Srxth             -1
Amendment Right                   s
